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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 CITRIX SYSTEMS, INC.,
                                                        C.A. No. 18-588-GMS
                              Plaintiff,

            V.


 WORKSPOT, INC.

                              Defendant.


  STIPULATION AND [PROPOSED] ORDER REGARDING AMENDING SCHEDULE
    FOR CITRIX SYSTEMS, INC.'S MOTION FOR PRELIMINARY INJUNCTION

        WHEREAS Plaintiff Citrix Systems, Inc. ("Citrix") and Defendant Workspot, Inc.

 ("Workspot") filed a Stipulation Regarding the Schedule for Citrix's Motion for Preliminary

 Injunction (the "Motion") on June 6, 2018 (DJ. 26; the "Stipulation");

        WHEREAS the Court granted the Stipulation on June 12, 2018 (DJ. 31);

        WHEREAS Citrix and W orkspot have made a good faith effort to exchange discovery on

 an expedited basis, but believe that they would benefit from additional time to complete

 discovery related to the Motion and to submit additional briefing regarding the Motion;

        IT IS HEREBY STIPULATED by the undersigned counsel, subject to the approval of the

 Court, that additional briefing for the Motion and a hearing regarding the Motion shall proceed

 according to the following amended schedule:

 Event                                                                 Date
 Defendant's Opposition and Declarations and                       August 17, 2018
 Expert Disclosures
 Plaintiffs Reply and Expert Disclosures                     September 21, 2018
 Pre-Hearing Teleconference                            September 28, 2018, at 2:00 pm ET
 Hearing on Preliminary Injunction Motion               October7, 2018, at 10:00 am ET
                                                               .
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Respectfully submitted,                        . Dated: July 17, 2018

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SO ORDERED this      'JO day of July, 2018




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